Case 1:99-cv-00048-WMS Document 266 Filed 09/11/13 Page 1 of 3




   UNITED STATES DISTRICT COURT
   WESTERN DISTRICT OF NEW YORK

   BARBARA E. SALAMON, M.D.,

                                 Plaintiff,

   -vs-                                              STIPULATION AND ORDER OF
                                                            DISMISSAL
   OUR LADY OF VICTORY HOSPITAL,
   MICHAEL C. MOORE, M.D., FRANKLIN                    CASE NO. 99 CV-0048-WMS
   ZEPLOWITZ, M.D., JOHN F. REILLY,
   M.D.,
   ALBERT J. DIAZ-ORDAZ, M.D. and
   JOHN P. DAVANZO,

                                 Defendants.


          IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned,

   the plaintiff, Barbara E. Salamon, M.D., and the attorneys of record for Our Lady of

   Victory Hospital, Michael C. Moore, M.D., Franklin Zeplowitz, M.D., John F. Reilly,

   M.D., Albert J. Diaz-Ordaz, M.D. and John P. Davanzo, pursuant to Federal Rule of Civil

   Procedure 41, that all claims in the above-entitled action be, and the same hereby are,

   dismissed with prejudice, without costs to any such party as against any of the others. The

   foregoing dismissal with prejudice is based on the terms of a settlement agreement, the

   terms of which are confidential.

          This stipulation may be filed without further notice with the Clerk of the Court.
Case 1:99-cv-00048-WMS Document 266 Filed 09/11/13 Page 2 of 3




      SO STIPULATED

DATED:       Buffalo, New York
             Aagusf      , 2013




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       SO ORDERED
Case 1:99-cv-00048-WMS Document 266 Filed 09/11/13 Page 3 of 3




                                            Hon. William M. Skretny
                                                  Chief Judge
